                      Case 1:21-mj-00333-PJG ECF No. 1, PageID.1 Filed 06/24/21 Page 1 of 1

                            UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                                      CRIMINAL MINUTE SHEET
USA v.       Adam Justin Banfill                                                        Mag. Judge: Phillip J. Green

    CASE NUMBER                       DATE                   TIME (begin/end)          PLACE                  INTERPRETER


    1:21-mj-0333-PJG                 6/24/2021               11:05 - 11:15 AM        Grand Rapids


APPEARANCES:
Government:                                              Defendant:                                     Counsel Designation:
Raymond E. Beckering, III                                Sean Tilton                                    FPD Appointment


          OFFENSE LEVEL                                CHARGING DOCUMENT/COUNTS                           CHARGING DOCUMENT
                                                                                                        Read ✔
Felony                                      Out-of-District Warrant                                     Reading Waived

             TYPE OF HEARING                                      DOCUMENTS                              CHANGE OF PLEA

✔   First Appearance                                  Defendant's Rights                       Guilty Plea to Count(s)
    Arraignment:                                  ✔   Waiver of Rule 5 and 5.1 Hearings        of the
         mute              nolo contendre             Consent to Mag. Judge for
                           guilty                                                              Count(s) to be dismissed at sentencing:
         not guilty
                                                      Other:
    Initial Pretrial Conference
                                                                                               Presentence Report:
    Detention         (waived    )                                                                    Ordered      Waived
    Preliminary    (waived       )                Court to Issue:                                   Plea Accepted by the Court
✔   Rule 5 Proceeding                                Report & Recommendation
                                                                                                    No Written Plea Agreement
                                                  ✔ Order of Detention
    Revocation/SRV/PV
                                                     Order to file IPTC Statements
    Bond Violation                                                                                   EXPEDITED RESOLUTION
                                                     Bindover Order
    Change of Plea                                ✔ Order Appointing Counsel
                                                                                                    Case appears appropriate for
    Sentencing                                    ✔ Other:
                                                                                                    expedited resolution
    Other:                                        Commitment


                       ADDITIONAL INFORMATION                                                     SENTENCING
                                                                            Imprisonment:
                                                                            Probation:
                                                                            Supervised Release:
                                                                            Fine: $
                                                                            Restitution: $
                                                                            Special Assessment: $
                                                                            Plea Agreement Accepted:             Yes    No
                                                                            Defendant informed of right to appeal:         Yes     No
                                                                            Counsel informed of obligation to file appeal:  Yes    No


                  CUSTODY/RELEASE STATUS                                                BOND AMOUNT AND TYPE

Remanded to USM                                                         $

CASE TO BE:           Set for hearing in charging district             TYPE OF HEARING: Further Proceedings

Reporter/Recorder:          Digitally Recorded                         Courtroom Deputy:            A. Doezema
